             Case 6:20-po-06032-BAB Document 16                                  Filed 10/19/20 Page 1 of 4 PageID #: 11
AO 2451 (Rev. 11/16)     Judgment in a Criminal Case for a Petty Offense                                    US DISTRICT COURT
                         Sheet I                                                                         WESTERN DIST ARKANSAS
                                                                                                                  FILED
                                            UNITED STATES                      DISTRICT COURT                  10/19/2020
                                                             Western District of Arkansas
          UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                                                                           (For a Petty Offense)
                                V.

                                                                           Case No.     6:20-PO-06032-001
                       MARCO F. KLOSS                                      USM No. 12703-509
                                                                                                   Benjamin Dallas Hooten
                                                                                                       Defendant's Attorney
THE DEFENDANT:

[8J THE DEFENDANT pleaded                    [8J guilty   O nolo contendere to count(s)     9022523-W A4 Count 2 on October 15 2020.
0   THE DEFENDANT was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                 Offense Ended               Q!!!!!!
36 C.F.R. § 4.2(b) and               Driving on Cancelled/Revoked/Suspended License                     10/19/2019                   2
A.C.A. § 27-16-303




        The defendant is sentenced as provided in pages 2 through _ _4__ of this judgment.
D   THE DEFENDANT was found not guilty on count(s)
[81 Count(s) One Citation 9022522-WA4                          [81 is      D   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2615

Defendant's Year of Birth:           1972

City and State of Defendant's Residence:
Hot S rin s Arkansas
                                                                                    The Honorable Ba
                                                                                                    Name and Title of Judge


                                                                                                             Date
             Case 6:20-po-06032-BAB Document 16                                  Filed 10/19/20 Page 2 of 4 PageID #: 12
AO 2451 (Rev. 11/16)    Judgment in a Criminal Case for a Petty Offense
                        Sheet 2 - Imprisonment
                                                                                                         Judgment - Page   2        of   4
DEFENDANT:                 MARCO F. KLOSS
CASE NUMBER:               6:20-PO-06032-001


                                                                     IMPRISONMENT


    The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: ten (10) days of which five (5) are suspended for a total of five (5) days custody to be served.




D    The court makes the following recommendations to the Bureau of Prisons:




D    The defendant is remanded to the custody of the United States Marshal.

~    The defendant shall surrender to the United States Marshal for this district:
                       no later than 5 :00         D      a.m.       ~    p.m.     on     October 23, 2020
      ~ to a facility as notified by the United States Marshal.

D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      D   before 2 p.m. on
      D    as notified by the United States Marshal.
      D   as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
I have executed this judgment as follows :




      Defendant delivered on                                                              to

at                                                        with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL


                                                                            By
                                                                                                    DEPUTY UNITED ST ATES MARSHAL
             Case 6:20-po-06032-BAB Document 16                                      Filed 10/19/20 Page 3 of 4 PageID #: 13
AO 2451 (Rev. 11/16)   Judgment in a Criminal Case for a Petty Offense
                       Sheet 3 - Criminal Monetary Penalties

                                                                                                        Judgment- Page _ _..;c.3_ _ of       4
DEFENDANT:                       MARCO F. KLOSS
CASE NUMBER:                     6:20-PO-06032-001

                                                   CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 4.

                   Assessment                JVTA Assessment*                 En£                               Restitution     Processing Fee
TOTALS         $   10.00                   $ 0.00                            $100.00                           $0.00            $30.00


0    The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

0    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid in full prior to the United States receiving payment.

Name of Payee                              Total Loss**                           Restitution Ordered                     Priority or Percentage




TOTALS                                                                         $ _ _ _ _ _ _ _ __

0    Restitution amount ordered pursuant to plea agreement $
                                                                          - -- - - - - - -

0    The defendant must pay interest on restitution or a fine of more than $2,500, unless the fine or restitution is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(t). All of the payment options on Sheet 4 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

t8J The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
     [8J the interest requirement is waived for             [8J fine         0      restitution.
     0    the interest requirement for the      O    fine       0        restitution is modified as follows:


• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
•• Findings for the total amount of losses are required under Chapters 109A, 110, I IOA, and 113A of Title I 8 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
             Case 6:20-po-06032-BAB Document 16                                 Filed 10/19/20 Page 4 of 4 PageID #: 14
AO 2451 (Rev. I l/16)Judgment in a Criminal Case for a Petty Offense
                         Sheet 4 - Schedule of Payments

                                                                                                  Judgment- Page - ~4 __ of             4
 DEFENDANT:                MARCO F. KLOSS
 CASE NUMBER:              6:20-PO-06032-00 I

                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A   IZI    Lump sum payment of$ _ 14_0_._00_ _ __                 due on or by March 15, 2021.

            D   not later than                                         , or
            D   in accordance with        D    C,     D    D,     D    E,or    D F below); or

 B D        Payment to begin immediately (may be combined with                DC,       D D, or   OF below); or

 C D        Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of$ _ _ _ _ _ over a period of
                         (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D D        Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ over a period of
           _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to
            a term of supervision; or

 E D        Payment during the term of probation will commence within _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F   IZI    Special instructions regarding the payment of criminal monetary penalties:
            The financial obligation, including the assessment and fees, shall be paid in full to the Central Violations Bureau no later than
            March 15, 2021.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
 due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
 Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
      corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
 costs.
